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Ofiicial Form l (1108)

United States Bankruptcy Court
DISTRICT 0F CONNECTICUT

 

 

Name ofDebtcr (itindividun,enr¢rr.asr,Fiin,Miadte): Name of`JointDebtor (spousc>(Las\,Fiist,Middle):

Jackson, Matthew Thomas

 

 

 

All Other Names used by the Debtor in the last 8 years All Other Names used by the Joint Debtor in the last 8 years

(include married, maiden, and dade names): (incltrde married, maiden, and trade names):

NONE
Last four digits of` So<:. See. or Indvidual-Taxpayer l.D. (l'I`lN) No.-"Complete EIN Last four digits of Soc. Sec. or Indvidual-Taxpayer I.D. (lTIN) No.!Comp]ete E.lN
(if more than unc, state all): 4 0 90 (ifmorc than one, state all):

Street Address ofDebtor (No. sr street ciry, md statc): Street Address of Joint Debtor (No. & street City. and sin¢):

216 West Walk
We.st Haven CT

 

 

 

 

 

 

zchoDr=. ztrcoos
0 651 6
County of Residence or of tire County of Residence or of the
Principal Place ofBusiness: New Haven Principal Place ofBusiness:
Mailing Address of Debtor (irdifrmnr nom street adams): Mailing Address of Joint Debtor (irdirrcmm imm street address):

SAME

 

 

 

ZlPCoDE |ZPCODE
Location of Principal Assets of Business Debtor IZJPCODE
(if`dif'l`crent l`rorn street address above): NOT APPLICABLE

 

 

 

 

Type ameth (Fm °fowmon) Naflll‘e Of BllSlll€SS Chaprer ofBankruprcy Cnde Under which
(Check 011€ box.) the Petition is Filed (Check one box)
(Check one box.) m H lth C B _
ea 816 mess ‘ ‘ ' '
Individnal annuities Joinr Debrors) “3 E| Chapfef 7 |:l Chapf€r 1§ Petwfm for Re<=<_>gmtmn
. . . m Single Asset Real Esrate as defined i:i Chapter 9 - of a Foreign Matn Proceedmg
See Exhrbtt D onpage 2 of!hrsform. _ 11 U S C § wl (515) l:] Chapter 11
111 . . . . . . .
m Corpor~ation (inciude,s LL,C and LLP) ‘ |:| Chapter 12 l:i Chapter i5 Petttion i`or Recogrrrtton
. |:i Ra‘l’°ad of a Forergn Nonmarn Proceeding
m Partnershrp m chkbroker l:] Ciiapter 13
i:| Otlter (if debtor is not one of the above m Commodity Broker Nature of Debts (Ch€¢k 01'1@ bOX)
enmies’ check this box and state type of g Debts are primarily consumer debts, defined [:| Debts are primarily
entirybclow m meaning Bank in ll U.S.C. § 101(8) as "incurred by an business debts.
13 ther individual primarily for a permit famiry,
or household purpose"
Tax-Exempt Ent:ity
(Cheek box, ifappticahle.) C`hapter 11 Debtors:
m Debtor is a tax-exempt organization Check one b°x:
under Tir|¢ 26 anne United grams l:l Debtor is a small business as defined in l l U.S.C. § 101(51D).
Cod¢ (;he lmemg¢ gevenue Code)_ m Debtor is not a small business debtor as defined in ll U.S.C. § 101(5 i D).

 

 

Fi.ling Fee (Check one box) Check if:
Full Filing Fee attached |:| Debtor’s aggregate noncontingent liquidated debts (excluding debts owed
E Filing Fee to be paid in installments {applieable to individuals only). Must attach to insiders cr amiiates) are 1355 than $2»190>000-

signed application for the oourt`s consideration certifying that the debtor is unable
to pay fee except in installments Rule 1006(b). See OHicial Fonn 3A.

Check all applicable boxes:

 

 

m Filing Fee waiver requested (applicable to chapter ? individuals only). Must attach |:I A plan ls being filed wlth this petition _ _
signed application for the eourt‘s consideration See Ofli eial Form 3B. i:i A®¢Pu“~nces cfth Pl"in Wei'e Sollclted Prel?eml°n from °ne OT more
classes of creditors, in accordance with l 1 U.S.C. § l 126(b).
StatisticalfAdministrative Informatinn mrs sPAcE rs roa couar Usa 0NLY

m Debtor estimates that funds will be available for distribution to unsecured creditors

g Debtor estimates that, aner any exempt property is excluded and administrative expenses paid, there will be no funds available for
distribution to unsecured creditors

 

 

 

 

 

 

Estirnated Number of Creditors
v
m I:r 1:| r:l 13 1:1 m cl t:i ,
1-49 50-99 too-199 200-999 1.ooo 5,001- 10,001- 25.001- so,oor. over
5,000 ro,ooo zs,ooo 50.000 100,000 too,ooo
Estimated Assets E n [:I
so to sso,oor to §oo.oor .u L§oo,ool l;'r|,ooo.oor sr o.ooo,oot sso,ooo.oor l'S-_T|oo,ooo.oot I;E|oo,ooo.oot Mnm than
$50,000 $100.000 $500,000 to $l to 510 to $50 to $ 100 to 5500 to 51 billion 51 billion
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Estimated Liabilities
lI| |It
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million million million million million n

 

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Ofl`ieial Form 1 (1/08) FORM Bl, Page 2
Voluntary Petition Nam° °fDeb‘°r(S)i
(Thr`s page must be completed andjl`[ed in every case) Jacksonl Mat thaw T_
All Prior Banicruptcy Cases Hled Within Last 8 Years (If more than two, attach additional sheet)
location Where Filed: Case Number: Date Filed:
Neil Crane 0 7-31012 05/04/07
Location Where Filed: Case Number: Date Filed:
Pending Bankruptcy Case Filed by any Spouse, Partner or AtTlliate of this Debtor (If` more than one, attach additional sheet)
Name of Debtor: Case Number: Date Filed:
District: Relationship: Judge:
Exllibit A Exhibit B
(To be completed if debtor is required to file periodic reports (To be completed ifdebror is an individual
(e.g., forms lOK and lDQ) with the Securities and Exchange whose debts arc primarily consumer debts)
Commission pursuant to Section 13 or lS(d) of the Sectrrities I, the attorney for the petitioner named in the foregoing petition, declare that I
Exchange Acl of 1934 and is requesting reliefu"der Chapter 11) have informed the petitioner that [he or shc] may proceed under chapter 7, l l, 12
or 13 of title l l, United States Code, and have explained the relief available under
each such chapter I further certify thatI have delivered to the debtor the notice
required by ll U.S.C. §342(b).
m E)thibit A is attached and made a part of this petition X 4/ 5/200 9
Signoture of`Attorncy for chtor(s) Datc
Exhihit C

Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health
or safety?

|j Yes, and exhibit C is attached and made a part of this petition.
l No

 

Exhibit D
(To be completed by every individual debtor. Ifa joint petition is riled, each spouse must complete and attach a separate Exhibit D.)

E] Exhibit D completed and signed by the debtor is attached and made part of this petition.
If this is a joint petition:
1:| Exhibit D also completed and signed by the joint debtor is attached and made a part of this petition.

 

{nl'ormation Regarding the Debtor ~ Venue
(Check any applicable box)

Debtor has been domiciled or has had a rcsidence, principal place of business, or principal assets in this District for 180 days immediately
preceding the date of this petition or for a longer part of such 180 days than in any other District.
m There is a bankruptcy case concerning debtor's affiliate, general arincr, or partnership pending in this District.
P
m Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in this District, or has no
principal place of business or assets in the United States but is a defendant in an action proceeding [in a federal or state court] in this District, or
the interests of the parties will be served in regard to the relief sought in this Distriet.

 

Certil'ication by a I)ehtor Who Resides as a Tenant ofResidential Property
(Check all applicable boxes.)

[:] landlord has a judgment against the debtor for possession ofdebtor‘s residence (It` box checked, complete the following.)

 

(Name of landlord that obtained judgment)

 

(Address of landlord)

ij Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be permitted to cure the
entire monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and

g Debtor has included with this petition the deposit with the court of any rent that would become due during the 30-day
period after the iiling of the petitionl

g Debtor certifies that he/she has served the Landlol'd with this certification (l l U.S.C. § 362(1)).

 

 

 

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Official Form 1 (1/08)

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Voluntary Petition
(I'hr's page must be completed ond]iled in every case)

Name of Debtor(s):

Jackson, Matthew T.

 

Signatures

 

Signature(s) of Debtor(s) (Individual/Joint)
I declare under penalty of perjury that the information provided in this
petition is true and correct.
[If petitioner is an individual whose debts are primarily consumer debts
and has chosen to file under chapter 'r’] 1 am aware that I may proceed
under chapter 7, l l, 12, or 13 of title 11, United States Code,
understand the relief available under each such chapter, and choose to
proceed under chapter 7.

[If no attorney represents me and no bankruptcy petition preparer
signs the petition] 1 have obtained and read the notice required by
11 U.S.C. §342(b)

I request relief in accordance with the chapter of title 11, United States
Code, cp ::f .: '.t/$'- this netition.

X 1
Signaturjorsu?;;bra.tdrew -{'¢ JaCkSOn

Signature of a Foreign Representative

I declare under penalty of perjury that the information provided in this
petition is true and correct1 thatl am the foreign representative of a debtor
in a foreign proceeding, and thatI am authorized to tile this petition.

(Check only one box.)

13 1 request relief in accordance with chapter 15 of title 11, United States
Code, Certified copies of the documents required by 1 l U.S.C. § 1515 are
attachedl

m Pursuant to ll U.S.C. § 151 1, I request relief in accordance with the
chapter of title 1 1 specified in this petition. A certified copy ofthe order
granting recognition of the foreign main proceeding is attached

FORM B}, Pag_e 3

 

 

 

 

 

X
X (Signature of Foreign chresentative)
§§naturc otJorrn chtor
/___,_.--_--.\ (Printed name of Foreign Representative)
T one Numhcr(ifnotrcprescmcd y attomey) 4/ 5/2009
(:: 5/2009 / /] mata

 

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Signature of Attor ey* ,,
§)§d,t 1, g /ln 2

UM°"<>
id

Sally Lynn Frui

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2714

Signatul'e of Non-Attorney Bankruptcy Petition Preparer

I declare under penalty of eijury that: (l I am a bankru tcy petition
preparer as defined in 11 .S.C. § 1 10; (g) l prepared ting document for
compensation and have provided the debtor with a copy of this document

 

 

Ptinlcd Name of`Atlomey fur Debtor(s

__Sarris Law Firm
FirmNamc

431 Howe Avenue
Address

Second Floor
Shelton CT 06484

203-924-4555
Tclephone Number

4/ 5/2009

Datc

*In a _case in whith § 707(b)(4)(D) applies, this signature also
constitutes a certification that the attorney has no knowledge after

and the notices and information re uired under l 1 U.S.C. §§ 1 10(b), l lO(h),
and 342(|)); and, (3) if rules or gui elines have been promulgated pursuant to
1 1 U.S.C. § 110(h) setting a maximum fee for services chargeable by
bankruptcy petition preparers, I have given the debtor notice of the
maximum amount before pr aring any document for filing for a debtor or
a;cepting ;n§ fee from the d:btor, as required in that section. Ofticial Form

l is attac e .

 

Printed Name and title, if any, ofBankruptcy Petition Prcparcr

 

SociaI-Security number (If the bankruptcy petition preparer is not an
individual, state the Social-Security number of the ofticer, princi al,
responsible gerson or partner of the bankruptcy petition preparer. (Required
by 11 U.S. .§110.)

 

 

The debtor requests the relief in accordance with the chapter of title
1 l, United States Code, specified in this petition.

X

 

an inquiry that the information in the schedules is incorrect Address
Signature of Debtor (Corporatioanartnership) X
I declare under penalty of perjury that the information provided in
this petition is true and correct, and that I have been authorized to
file this petition on behalf ofthc debtor. pate

 

Signature of bankru tcy petition preparer or officer, prin_cipal, responsible
person, or partner w ose Social-Security number is provided above.

Names and Social-Security numbers of all other individuals who prepared or

assisted in preparing this document unless the bankruptcy petition preparer is
not an individual.

 

Signaturc ofAuthot'izcd Individual

 

Printcd Namc ofAuthorized individual

lf more than one person prepared this document, attach additional sheets
conforming to the appropriate official form for each person

 

Tit[c ofAuthon`zod individual

4/ 5/2009
Datc

 

A bankruptcy petition preparer 's failure to comply with the provisions aftitie 11
and the Federol Rule.r 0 Bankmprcy Procedure ma result in fines or
imprisonment or both. 1 U.S.C. § IIO,' 18 U.S.C. 156.

 

 

 

 

 

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UN|TED STATES BANKRUPTCY COURT
DlSTRlCT OF CONNECT|CUT

lri re Jackson, Matthew T. Case NO.
Chapter 7

 

Debtor(s)

EXH|BIT D - lNDlVIDUAL DEBTOR'S STATEMENT OF COMPLiANCE WlTH
CRED|T COUNSEL|NG REQU|REMENT

WARNING: ¥ou must be able to check truthfully one of the five statements regarding credit counseling listed belcw. if you cannot
do so, you are not eligible to file a bankruptcy case, and the court can dismiss any case you do file. if that happens, you will lose
whatever filing fee you paid, and your creditors will be able to resume collection activities against you. lf your case is dismissed and
you file another bankruptcy case later, you may be required to pay a second filing fee and you may have to take extra steps to stop
creditors' collection activities

Every individual debtor must rile this Exhibit D. if a joint petition is tiled, each spouse must complete and tile a separate
Exhibit D. Check one of the five statements below and attach any documents as directed

I:| 1. Within the 180 days before the filing of my bankruptcy case, l received a briefing from a credit counseling
agency approved by the United States trustee or bankruptcy administrator that outlined the opportunities for available credit
counseling and assisted me in performing a related budget analysis, and l have a certificate from the agency describing the
services provided to me. Attach a copy of the certificate and a copy of any debt repayment plan developed through the agency.

§ 2. Within the 180 days before the filing of my bankruptcy case, | received a briefing from a credit counseling
agency approved by the United States trustee or bankruptcy administrator that outlined the opportunities for available credit
counseling and assisted me in performing a related budget analysis, but l do not i have a certificate from the agency describing
the services provided to me. You must tile a copy of a certificate from the agency describing the services provided to you and
a copy of any debt repayment plan developed through the agency no later than 15 days after your bankruptcy case is tiled.

I:] 3. l certify that l requested credit counseling services from an approved agency but was unable to obtain the
services during the five days from the time i made my request, and the following exigent circumstances merit a temporary waiver
of the credit counseling requirement so | can file my bankruptcy case now.

[Summarize exigent circumstances here.]

lf your codification is satisfactory to the court, you must still obtain the credit counseling briefing within the first 30 days after you
file your bankruptcy petition and promptly file a certificate from the agency that provided the counseling, together with a copy of any
debt management plan developed through the agency. Fai|ure to fulfill these requirements may result in dismissal of your case.
Any extension of the 30-day deadline can be granted only for cause and is limited to a maximum of 15 days. Your case may also be
dismissed if the court is not satisfied with your reasons for filing your bankruptcy case without first receiving a credit counseling
briefing.

 

 

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|:] 4. l am not required to receive a credit counseling briefing because of: [Check the applicable statement]
[Must be accompanied by a motion for determination by the court.]
l:l |ncapacity. (Detined in 11 U.S.C. § 109 (h)(4) as impaired by reason of mental illness or mental deficiency
so as to be incapable of realizing and making rational decisions with respect to financial responsibilities.);
m Disabi|ity. (Detined in 11 U.S.C. § 109 (h)(4) as physically impaired to the extent of being unable, after
reasonable effort, to participate in a credit counseling briefing in personl by telephone or through the lntemet.);
[:1 Active military duty in a military combat zone.

\:I 5. The United States trustee or bankruptcy administrator has determined that the credit counseling requirement
of 11 U.S.C. § 109(h) does not apply in this district.

l certify under penalty of perjury that the information provided above is true and correct.

Stg"al“re°fi’eb*°" _/s/ M:.rrhew rr Jackson

Datei_ 4/ 5/2009

